     Case 4:22-md-03047-YGR        Document 885    Filed 05/22/24   Page 1 of 8



 1   [Submitting Counsel on Signature Page]
 2

 3

 4

 5

 6

 7

 8                          IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11   IN RE: SOCIAL MEDIA ADOLESCENT                No. 4:22-MD-3047
     ADDICTION/PERSONAL INJURY
12   PRODUCTS LIABILITY LITIGATION                 MDL No. 3047
13
     This Document Relates to:                     OMNIBUS SEALING STIPULATION
14                                                 REGARDING JOINT LETTER BRIEF
     ALL ACTIONS                                   REGARDING RELEVANT TIME
15                                                 PERIOD APPLICABLE TO
                                                   BYTEDANCE DOCUMENT SEARCH
16                                                 AND PRODUCTION
17

18

19

20

21

22

23

24

25

26

27

28

                                   OMNIBUS SEALING STIPULATION
     Case 4:22-md-03047-YGR            Document 885        Filed 05/22/24      Page 2 of 8



 1             Pursuant to Civil Local Rules 7-11 and 79-5 and this Court’s Order Setting Sealing
 2   Procedures (ECF No. 341), Plaintiffs and Defendants TikTok, Ltd., TikTok, LLC, TikTok, Inc.,
 3   ByteDance Ltd., and ByteDance Inc. (collectively referred to in this submission as “TikTok
 4   Defendants,” and with Plaintiffs as the “Parties”) submit this Omnibus Sealing Stipulation
 5   Regarding Joint Letter Brief Regarding Relevant Time Period Applicable to ByteDance Document
 6   Search and Production.
 7             On May 1, 2024, the Parties filed their Joint Letter Brief Regarding Relevant Time Period
 8   Applicable to ByteDance Document Search and Production (hereinafter “Joint Letter Brief”) (ECF
 9   No. 798), together with a Joint Temporary Sealing Motion (ECF No. 799). The Parties filed the
10   Joint Letter Brief with confidentiality redactions (at ECF No. 798), and submitted a sealed
11   unredacted copy of the Joint Letter Brief to the Court (ECF No. 799-1).
12             The Parties now agree that the following portions of the Joint Letter Brief should remain
13   sealed:
14
       Docket No.              Language to Be Redacted           Basis for Sealing Redactions
15     ECF Nos. 798/799-1                                        The language that is the subject of
                               Redaction beginning on page 1
16                             and extending into page 2:        redaction discusses the TikTok
                               beginning after “Indeed,” on      Defendants’ confidential platform
17                             page 1 and ending before          design, testing, and marketing and
                               “Thus,” on the first line of      business strategies; and further
18                             page 2.                           characterizes and/or directly quotes
       ECF Nos. 798/799-1      Redaction on the second line      from confidential internal memos
19                                                               regarding the same. Disclosure of this
                               of page 2: beginning after
                               “Thus,” and ending before         information would provide the TikTok
20                                                               Defendants’ competitors with insights
                               “And” on line 2 of page 2.
                                                                 into the TikTok Defendants’ business
21     ECF Nos. 798/799-1      Redaction beginning on the        that they would not otherwise have, and
                               third line of page 2: beginning   thereby cause competitive harm to the
22                             after “And” and extending to      TikTok Defendants. See Declaration of
23                             the end of the paragraph.         Noreen Yeh; see also Nixon v. Warner
       ECF Nos. 798/799-1      Redaction in the third            Commc’ns, Inc., 435 U.S. 589, 598
24                             paragraph of page 2: beginning    (1978) (stating that “sources of
                               after “When ByteDance             business information that might harm
25                             launched TikTok,” and ending      a litigant’s competitive standing”
                               before “The company spent         properly may be sealed); Phillips ex
26                             massively.”                       rel. Estates of Byrd v. General Motors
27     ECF Nos. 798/799-1      Redaction in the fourth           Corp., 307 F.3d 1206, 1211 (9th Cir.
                               paragraph of page 2: beginning    2002) (“The law . . . gives district
28                             after “For example,” and          courts broad latitude to grant
                                                     -2-
                                       OMNIBUS SEALING STIPULATION
     Case 4:22-md-03047-YGR             Document 885         Filed 05/22/24      Page 3 of 8



 1                             ending before “Given how            protective orders to prevent disclosure
                               completely.”                        of materials for many types of
 2                                                                 information, including, but not limited
 3                                                                 to, trade secrets or other confidential
                                                                   research, development, or commercial
 4                                                                 information.”).

 5
             The Parties agree that the portions of the Joint Letter Brief not listed in the above chart may
 6
     be unsealed. The TikTok Defendants do not waive, and expressly reserve, their right to move to
 7
     seal other material from, or derived from, documents quoted, paraphrased, characterized, or
 8
     otherwise cited in the Joint Letter Brief. The confidentiality or appropriateness of sealing material
 9
     other than cited portions of the Joint Letter Brief is not currently at issue, and the TikTok
10
     Defendants do not waive any right with respect to that material.
11
             Plaintiffs’ agreement to allow portions of the Joint Letter Brief to remain under seal is made
12
     in a good faith effort to resolve the current dispute and is not a concession that the agreed redactions
13
     are mandated by law. Plaintiffs’ agreement extends solely to the copy of the Joint Letter Brief and,
14
     as such, does not extend to any underlying documents or information within those documents.
15
     Plaintiffs reserve all rights to oppose sealing this same or similar information in the future, as well
16
     as to unseal or de-designate the Joint Letter Brief in its entirety in the future.
17
             Pursuant to this Court’s sealing procedures, the following are attached hereto: (i) a modified
18
     copy of the Joint Letter Brief, with the redactions agreed by the Parties listed above; (ii) the
19
     Declaration of Noreen Yeh supporting the requests to seal; and (iii) a Proposed Order On
20
     Undisputed Sealing Requests.
21
             IT IS SO STIPULATED, through Counsel of Record.
22
      Dated: May 22, 2024                             Respectfully submitted,
23

24                                                    /s/ Lexi J. Hazam
                                                      LEXI J. HAZAM
25                                                    LIEFF CABRASER HEIMANN &
                                                      BERNSTEIN, LLP
26                                                    275 Battery Street, 29th Floor
                                                      San Francisco, CA 94111-3339
27                                                    Telephone: 415-956-1000
                                                      lhazam@lchb.com
28
                                                       -3-
                                       OMNIBUS SEALING STIPULATION
     Case 4:22-md-03047-YGR   Document 885     Filed 05/22/24    Page 4 of 8



 1                                      PREVIN WARREN
                                        MOTLEY RICE LLC
 2                                      401 9th Street NW Suite 630
                                        Washington DC 20004
 3                                      Telephone: 202-386-9610
                                        pwarren@motleyrice.com
 4
                                        Co-Lead Counsel
 5
                                        CHRISTOPHER A. SEEGER
 6                                      SEEGER WEISS, LLP
                                        55 Challenger Road, 6th floor
 7                                      Ridgefield Park, NJ 07660
                                        Telephone: 973-639-9100
 8                                      Facsimile: 973-679-8656
                                        cseeger@seegerweiss.com
 9
                                        Counsel to Co-Lead Counsel and Settlement
10                                      Counsel
11                                      JENNIE LEE ANDERSON
                                        ANDRUS ANDERSON, LLP
12                                      155 Montgomery Street, Suite 900
                                        San Francisco, CA 94104
13                                      Telephone: 415-986-1400
                                        jennie@andrusanderson.com
14
                                        Liaison Counsel
15
                                        JOSEPH G. VANZANDT
16                                      BEASLEY ALLEN CROW METHVIN
                                        PORTIS & MILES, P.C.
17                                      234 Commerce Street
                                        Montgomery, AL 36103
18                                      Telephone: 334-269-2343
                                        joseph.vanzandt@beasleyallen.com
19
                                        EMILY C. JEFFCOTT
20                                      MORGAN & MORGAN
                                        220 W. Garden Street, 9th Floor
21                                      Pensacola, FL 32502
                                        Telephone: 850-316-9100
22                                      ejeffcott@forthepeople.com
23                                      Federal/State Liaison Counsel
24                                      MATTHEW BERGMAN
                                        SOCIAL MEDIA VICTIMS LAW CENTER
25                                      821 Second Avenue, Suite 2100
                                        Seattle, WA 98104
26                                      Telephone: 206-741-4862
                                        matt@socialmediavictims.org
27

28
                                         -4-
                              OMNIBUS SEALING STIPULATION
     Case 4:22-md-03047-YGR   Document 885     Filed 05/22/24   Page 5 of 8



 1
                                        JAMES J. BILSBORROW
 2                                      WEITZ & LUXENBERG, PC
                                        700 Broadway
 3                                      New York, NY 10003
                                        Telephone: 212-558-5500
 4                                      Facsimile: 212-344-5461
                                        jbilsborrow@weitzlux.com
 5
                                        PAIGE BOLDT
 6                                      WATTS GUERRA LLP
                                        4 Dominion Drive, Bldg. 3, Suite 100
 7                                      San Antonio, TX 78257
                                        Telephone: 210-448-0500
 8                                      PBoldt@WattsGuerra.com
 9                                      THOMAS P. CARTMELL
                                        WAGSTAFF & CARTMELL LLP
10                                      4740 Grand Avenue, Suite 300
                                        Kansas City, MO 64112
11                                      Telephone: 816-701 1100
                                        tcartmell@wcllp.com
12
                                        JAYNE CONROY
13                                      SIMMONS HANLY CONROY, LLC
                                        112 Madison Ave, 7th Floor
14                                      New York, NY 10016
                                        Telephone: 917-882-5522
15                                      jconroy@simmonsfirm.com
16                                      SARAH EMERY
                                        HENDY JOHNSON VAUGHN EMERY, PSC
17                                      2380 Grandview Drive
                                        Ft. Mitchell, KY 41017
18                                      Telephone: 888-606-5297
                                        semery@justicestartshere.com
19
                                        CARRIE GOLDBERG
20                                      C.A. GOLDBERG, PLLC
                                        16 Court St.
21                                      Brooklyn, NY 11241
                                        Telephone: (646) 666-8908
22                                      carrie@cagoldberglaw.com
23                                      RONALD E. JOHNSON, JR.
                                        HENDY JOHNSON VAUGHN EMERY, PSC
24
                                        600 West Main Street, Suite 100
25                                      Louisville, KY 40202
                                        Telephone: 859-578-4444
26                                      rjohnson@justicestartshere.com
27

28
                                         -5-
                              OMNIBUS SEALING STIPULATION
     Case 4:22-md-03047-YGR   Document 885     Filed 05/22/24   Page 6 of 8



 1
                                        SIN-TING MARY LIU
 2                                      AYLSTOCK WITKIN KREIS &
                                        OVERHOLTZ, PLLC
 3                                      17 East Main Street, Suite 200
                                        Pensacola, FL 32502
 4                                      Telephone: 510-698-9566
                                        mliu@awkolaw.com
 5
                                        JAMES MARSH
 6                                      MARSH LAW FIRM PLLC
                                        31 Hudson Yards, 11th floor
 7                                      New York, NY 10001-2170
                                        Telephone: 212-372-3030
 8                                      jamesmarsh@marshlaw.com
 9                                      ANDRE MURA
                                        GIBBS LAW GROUP, LLP
10                                      1111 Broadway, Suite 2100
                                        Oakland, CA 94607
11                                      Telephone: 510-350-9717
                                        amm@classlawgroup.com
12
                                        HILLARY NAPPI
13                                      HACH & ROSE LLP
                                        112 Madison Avenue, 10th Floor
14                                      New York, New York 10016
                                        Telephone: 212.213.8311
15                                      hnappi@hrsclaw.com
16                                      EMMIE PAULOS
                                        LEVIN PAPANTONIO RAFFERTY
17                                      316 South Baylen Street, Suite 600
                                        Pensacola, FL 32502
18                                      Telephone: 850-435-7107
                                        epaulos@levinlaw.com
19
                                        RUTH THI RIZKALLA
20                                      THE CARLSON LAW FIRM, P.C.
                                        1500 Rosecrans Ave., Ste. 500
21                                      Manhattan Beach, CA 90266
                                        Telephone: 415-308-1915
22                                      rrizkalla@carlsonattorneys.com
23                                      ROLAND TELLIS
                                        DAVID FERNANDES
24                                      BARON & BUDD, P.C.
                                        15910 Ventura Boulevard, Suite 1600
25                                      Encino, CA 91436
                                        Telephone: (818) 839-2333
26                                      Facsimile: (818) 986-9698
                                        rtellis@baronbudd.com
27                                      dfernandes@baronbudd.com
28
                                         -6-
                              OMNIBUS SEALING STIPULATION
     Case 4:22-md-03047-YGR   Document 885     Filed 05/22/24      Page 7 of 8



 1
                                        ALEXANDRA WALSH
 2                                      WALSH LAW
                                        1050 Connecticut Ave, NW, Suite 500
 3                                      Washington D.C. 20036
                                        Telephone: 202-780-3014
 4                                      awalsh@alexwalshlaw.com
 5                                      MICHAEL M. WEINKOWITZ
                                        LEVIN SEDRAN & BERMAN, LLP
 6                                      510 Walnut Street
                                        Suite 500
 7                                      Philadelphia, PA 19106
                                        Telephone: 215-592-1500
 8                                      mweinkowitz@lfsbalw.com
 9                                      MELISSA YEATES
                                        JOSEPH H. MELTZER
10                                      KESSLER TOPAZ MELTZER & CHECK,
                                        LLP
11                                      280 King of Prussia Road
                                        Radnor, PA 19087
12                                      Telephone: 610-667-7706
                                        myeates@ktmc.com
13                                      jmeltzer@ktmc.com
14                                      DIANDRA “FU” DEBROSSE ZIMMERMANN
                                        DICELLO LEVITT
15                                      505 20th St North
                                        Suite 1500
16                                      Birmingham, Alabama 35203
                                        Telephone: 205.855.5700
17
                                        fu@dicellolevitt.com
18
                                        Attorneys for Plaintiffs
19
                                        /s/ Andrea Roberts Pierson
20                                      Andrea Roberts Pierson, pro hac vice
                                         andrea.pierson@faegredrinker.com
21                                      Amy Fiterman, pro hac vice
                                         amy.fiterman@faegredrinker.com
22                                      Faegre Drinker LLP
                                        300 N. Meridian Street, Suite 2500
23                                      Indianapolis, IN 46204
                                        Telephone: + 1 (317) 237-0300
24                                      Facsimile: +1 (317) 237-1000

25

26

27

28
                                         -7-
                              OMNIBUS SEALING STIPULATION
     Case 4:22-md-03047-YGR   Document 885     Filed 05/22/24   Page 8 of 8



 1                                      KING & SPALDING LLP
 2                                      /s/ Geoffrey M. Drake
                                        Geoffrey M. Drake, pro hac vice
 3                                       gdrake@kslaw.com
                                        David Mattern, pro hac vice
 4                                       dmattern@kslaw.com
                                        King & Spalding LLP
 5                                      1180 Peachtree Street, NE, Suite 1600
                                        Atlanta, GA 30309
 6                                      Telephone: + 1 (404) 572-4600
                                        Facsimile: + 1 (404) 572-5100
 7                                      Attorneys for Defendants TikTok Inc., ByteDance
                                        Inc., ByteDance Ltd., TikTok Ltd., and TikTok,
 8                                      LLC
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                         -8-
                              OMNIBUS SEALING STIPULATION
